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                                  UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF MICHIGAN

 In re:
                                                                             Case No. 19‐03385
 JENNIFER F. MEEK,                                                           Chapter 13
                                                                             Hon. John T. Gregg
                                      Debtor.                                Filed: August 7, 2019
                                                       /


                            FIRST POST‐CONFIRMATION PLAN AMENDMENT
HISTORY:
     The Original Chapter 13 Plan was filed on 8/21/19 (DN13)
     First Pre‐Confirmation Plan Amendment filed 10/11/19 (DN 32).
     Plan Confirmed 11/5/19 (DN 39).

PURPOSE: This Plan Amendment amends:
    Paragraph IV. R. to extend the Plan as a result of material financial hardship due to COVID‐19, pursuant to the COVID‐19
      Bankruptcy Relief Extension Act of 2021.
    Paragraph IV. R. to forgive current plan payment arrearage of $1,516.17 as a result of material financial hardship due to
      COVID‐19.

This amendment affects the above referenced paragraphs only. All other provisions of the plan, as amended, remain unaffected
by this amendment.

IV. GENERAL PROVISIONS


    R. NONSTANDARD PROVISIONS. Nonstandard provisions must be set forth below. A nonstandard provision is a provision
       not otherwise included in this Model Plan or deviating from it. Nonstandard provisions set out elsewhere in this Plan are
       ineffective and void. The following Plan provisions will be effective only if there is a check in the box “Included” in the
       Preamble.


          1.   The Trustee shall escrow $75.00 per month of the Debtor’s plan payments to be reserved for payment of all allowed
               administrative expenses. Applications for administrative expenses not previously allowed or ordered will be filed
               at least 30 days before the time of the final audit or the 59th month of the plan whichever comes first in order to be
               paid from escrowed funds. Failure to apply for the escrowed funds will result in distribution pursuant to the
               confirmed plan of escrowed funds on plan completion. Additional allowed administrative expenses, including
               attorney fees, may reduce the base amount to unsecured claims specified in paragraph III.F.
          2.   $7,113.00 of Debtor’s income tax refund is included, on a pro-rata basis, in Debtor’s monthly income. Any annual
               tax refund received over that amount is to be turned over to the Trustee.
          3. Plan is extended to the time necessary, not to exceed 84 months from the date the first payment under
             the original confirmed plan was due. Debtor has experienced a material financial hardship due to COVID‐
             19. See COVID‐19 Bankruptcy Relief Extension Act of 2021 and 11 USC 1329(d).
          4.   Current Plan payment arrearage of $1,516.17, is forgiven and the Debtor shall make all future plan payments as
               scheduled herein. Any secured debt arrearage is preserved.




                                                           1- As updated on 11‐23‐16
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Dated: 5/6/2021                                /s/ Jennifer F. Meek     __________________
                                               Jennifer F. Meek, Debtor

                                               DIETRICH & KENYON, PLLC


Dated: 5/6/2021                                /s/ Robert W. Dietrich_____________________
                                               Robert W. Dietrich (P49704)
                                               Aaron J. Kenyon (P67589)
                                               Counsel for the Debtor(s)




                                         2- As updated on 11‐23‐16
